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 7   TMOTHY C. NELSON
 8

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11                                    UNITED STATES DISTRICT COURT
12                                FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14   TIMOTHY C. NELSON,                                     Case No. 2:05-CV-1193-MCE-KJM
15                                                          STIPULATED AND ORDER TO EXTEND
                     Plaintiff,
                                                            TIME TO FILE PLAINTIFF’S
16                                                          OPPOSITION TO DEFENDANTS’
            vs.
                                                            SUMMARY JUDGMENT MOTIONS AND
17                                                          TO RESET THE SUMMARY JUDGMENT
     CITY OF DAVIS, et al.,
                                                            HEARING, FINAL PRE-TRIAL
18                                                          CONFERENCE & TRIAL DATES
                     Defendants.
19                                                          JUDGE:    Hon. Morrison C. England
20

21          IT IS HEREBY STIPULATED (and respectfully requested) by and between plaintiff Timothy
22   C. Nelson and all defendants by and through their designated counsel, that the date by which
23   plaintiff’s opposition to Defendants’ three separate motions for summary judgment must be reset
24   from November 24, 2006 to December 14, 2006 (20 additional calendar days).
25          The good cause for resetting this date stems from the fact that plaintiff must respond to three
26   separate summary judgment motions containing over 1,000 pages of documents. The current
27   deadline places a substantial burden upon plaintiff to respond to such voluminous motions within a
28   mere 10 days.



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 1          THE PARTIES HEREBY FURTHER STIPULATE (and respectfully request) by and between
 2   plaintiff Timothy C. Nelson and all defendants by and through their designated counsel, that the
 3   summary judgment hearing date scheduled for December 11, 2006, be reset for January 8, 2007; the
 4   final pre-trial conference scheduled for February 26, 2007, be reset to April 16, 2007; and the trial
 5   scheduled for April 4, 2006, be reset to May 21, 2007.
 6          All parties stipulate and respectfully request the aforementioned dates be reset by this court.
 7

 8

 9   Date: November 17, 2006                                 LAW OFFICES OF JOHN L. BURRIS
10

11                                                                  /s/ Adanté Pointer
                                                             ADANTÉ D. POINTER
12                                                           Attorneys for Plaintiff
                                                             TIMOTHY C. NELSON
13

14

15   Date: November 17, 2006                                 GORDON & REES LLP
16

17                                                                  /s/ Mark Posard
                                                             MARK S. POSARD
18
                                                             GODON & REES, LLP
19                                                           Attorneys for Defendants
                                                             CALVIN HANDY, OFFICER JAVIER
20                                                           BARRAGAN, OFFICER MARY GARCIA
21

22
     Date: November 17, 2006                                 WILKE FLEURY HOFFELT GOULD &
23                                                           BIRNEY, LLP
24
                                                                    /s/ Kelli Kennaday
25                                                           KELLI M. KENNADAY
                                                             Attorneys for Defendants
26                                                           OFFICER CALVI N CHANG
     //
27
     //
28   //
     //



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           Case 2:05-cv-01193-MCE-CKD Document 72 Filed 11/21/06 Page 3 of 3


 1   Date: November 17, 2006                                 ANGELO, KILDAY & KILDUF, LLP
 2
                                                                    /s/ Douglas Thorn
 3                                                           DOUGLAS R. THORN
                                                             Attorneys for Defendants
 4                                                           CITY OF DAVIS, JAMES HYDE, JOHN
 5
                                                             WILSON

 6
            IT IS SO ORDERED that the hearing on the summary judgment motions (Docket Nos. 56, 66
 7
     and 67) is reset from December 11, 2006, to January 8, 2007 at 09:00 am. The final pre-trial
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     conference scheduled for February 26, 2007, is reset to April 16, 2007 at 01:30 p.m. Parties shall file
 9
     a joint pretrial statement on or before April 2, 2007. The trial date of April 4, 2007 is reset to May
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     23, 2007 at 09:00 a.m.
11

12   DATED: November 21, 2006
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                                               __________________________________
14                                             MORRISON C. ENGLAND, JR
                                               UNITED STATES DISTRICT JUDGE
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